Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 1 of 47 PageID #: 1798




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   UNITED STATES OF AMERICA

   v.                                    Case No.: 1:21-cr-00371-BMC-TAM
   AL MALIK ALSHAHHI, et al.

                Defendants.



        REPLY IN SUPPORT OF THOMAS J. BARRACK, JR.’S MOTION TO DISMISS


                                                     O’MELVENY & MYERS LLP
                                                  1999 Avenue of the Stars, 8th Floor
                                                            Los Angeles, CA 90067
                                                                     (310) 553-6700

                                                   400 South Hope Street, 18th Floor
                                                            Los Angeles, CA 90071
                                                                    (213) 430-6000

                                                               Times Square Tower
                                                                    7 Times Square
                                                         New York, New York 10036
                                                                    (212) 326-2000

                                                   Counsel for Thomas J. Barrack, Jr.
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 2 of 47 PageID #: 1799




                                                     TABLE OF CONTENTS

  TABLE OF CONTENTS ................................................................................................................. i
  TABLE OF AUTHORITIES .......................................................................................................... ii
  INTRODUCTION .......................................................................................................................... 1
  ARGUMENT .................................................................................................................................. 5
       I.   THE SECTION 951 CHARGES MUST BE DISMISSED .................................... 5
                       A.         Section 951 Requires That The Government Allege Mr. Barrack Owed A
                                  Duty To A Foreign Government Or Official. ............................................. 5
                                  1.         Statutory Construction Principles Confirm The Requirement Of A
                                             Duty................................................................................................. 5
                                  2.         The Cases That Have Allowed Section 951 Charges To Survive A
                                             Motion To Dismiss Are Distinguishable ........................................ 8
                                  3.         Section 951 Should Be Construed To Require Proof Of A Duty To
                                             Avoid Overbreadth Problems. ...................................................... 11
                       B.         The Indictment Does Not Plead That Mr. Barrack Owed A Duty To The
                                  UAE. ......................................................................................................... 15
                       C.         If Applied To Mr. Barrack’s Conduct, Section 951 Is Unconstitutionally
                                  Vague. ....................................................................................................... 17
                                  1.         Section 951 Authorizes And Encourages Arbitrary Enforcement. 17
                                  2.         The Text Of Section 951 Failed To Give Mr. Barrack Adequate
                                             Notice That His Alleged Conduct Was Proscribed....................... 21
                       D.         The Government’s Late-Breaking Theories Of Liability Do Not Salvage
                                  The Indictment. ......................................................................................... 22
                                  1.         The Indictment Fails To State A Section 951 Offense Under An
                                             Aiding-And-Abetting Theory Of Liability. .................................. 23
                                  2.         The Indictment Fails To State A Section 951 Offense Under
                                             Pinkerton. ...................................................................................... 25
            II.        THE FALSE STATEMENT CHARGES MUST BE DISMISSED ..................... 27
                       A.         Counts 3 Through 7 Must Be Dismissed Based On The Government’s
                                  Intentional Failure To Make A Record. .................................................... 27
                       B.         Count 5 Must Be Dismissed For Failure To State An Offense................. 34
            III.       THE GOVERNMENT’S PREJUDICIAL AND UNJUSTIFIABLE PRE-
                       INDICTMENT DELAY REQUIRES DISMISSAL OF ALL COUNTS............. 36
  CONCLUSION ............................................................................................................................. 38




                                                                         i
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 3 of 47 PageID #: 1800




                                                 TABLE OF AUTHORITIES

  Cases
  City of Chi. v. Morales,
    527 U.S. 41 (1999) .................................................................................................................... 17
  Clark v. Martinez,
    543 U.S. 371 (2005) .................................................................................................................. 13
  FCC v. Fox Television Stations, Inc.,
   556 U.S. 502 (2009) .................................................................................................................. 13
  Kunz v. New York,
   340 U.S. 290 (1951) .................................................................................................................. 14
  Leopold v. U.S. Dep’t of Justice,
    No. 19-CV-01278 (D.D.C.) ....................................................................................................... 29
  Marinello v. United States,
   138 S. Ct. 1101 (2018) .............................................................................................................. 12
  NLRB v. Catholic Bishop of Chi.,
   440 U.S. 490 (1978) .................................................................................................................. 13
  Pinkerton v. United States,
    328 U.S. 640 (1946) .................................................................................................................... 3
  Rehaif v. United States,
    139 S. Ct. 2191 (2019) .............................................................................................................. 23
  Rosemond v. United States,
    572 U.S. 65 (2014) .................................................................................................................... 24
  Russell v. United States,
    369 U.S. 749 (1962) .................................................................................................................. 15
  Saia v. New York,
    334 U.S. 558 (1948) .................................................................................................................. 14
  Shuttlesworth v. City of Birmingham,
    394 U.S. 147 (1969) .................................................................................................................. 14
  Smith v. Goguen,
    415 U.S. 566 (1974) .................................................................................................................. 17
  Staples v. United States,
    511 U.S. 600 (1994) .................................................................................................................. 22
  Thibodeau v. Portuondo,
    486 F.3d 61 (2d Cir. 2007) ........................................................................................................ 17
  United States v. Abouammo,
   No. 19-CR-621 (N.D. Cal) .......................................................................................................... 8
  United States v. Amirnazmi,
   2009 WL 32481 (E.D. Pa. Jan. 5, 2009) ................................................................................... 13

                                                                       ii
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 4 of 47 PageID #: 1801




  United States v. Amirnazmi,
   No. 08-cr-429 (E.D. Pa.) ............................................................................................................. 9
  United States v. Arsan,
   21-CR-00159 (C.D. Cal.) .......................................................................................................... 29
  United States v. Baaklini,
   21-CR-00160 (C.D. Cal) ........................................................................................................... 29
  United States v. Baca,
   No. 16-CR-00066 (C.D. Cal) .................................................................................................... 29
  United States v. Bonacorsa,
   528 F.2d 1218 (2d Cir. 1976) .................................................................................................... 31
  United States v. Bonanno Organized Crime Fam. of La Cosa Nostra,
   879 F.2d 20 (2d Cir. 1989) .......................................................................................................... 7
  United States v. Brandt,
   546 F.3d 912 (7th Cir. 2008) ..................................................................................................... 30
  United States v. Bronson,
   2007 WL 2455138 (E.D.N.Y. Aug. 23, 2007) ............................................................................ 9
  United States v. Brown,
   2011 WL 3678682 (W.D. Pa. Aug. 19, 2011) .......................................................................... 29
  United States v. Bruno,
   383 F.3d 65 (2d Cir. 2004) ........................................................................................................ 25
  United States v. Butenko,
   384 F.2d 554 (3d Cir. 1967), vacated on other grounds by Alderman v. United States, 394 U.S.
   165 (1969) ................................................................................................................................... 8
  United States v. Carll,
   105 U.S. 611 (1881) .................................................................................................................. 15
  United States v. Chung,
   633 F. Supp. 2d 1134 (C.D. Cal. 2009) ....................................................................................... 8
  United States v. Claiborne,
   No. 17-CR-00069 (D.D.C.) ....................................................................................................... 29
  United States v. Clifford,
   426 F. Supp. 696 (E.D.N.Y. 1976) ............................................................................................ 28
  United States v. Coplan,
   703 F.3d 46 (2d Cir. 2012) ........................................................................................................ 25
  United States v. Dumeisi,
   424 F.3d 566 (7th Cir. 2005) ....................................................................................................... 8
  United States v. Dumiesi,
   2003 WL 22757747 (N.D. Ill. Nov. 20, 2003) .......................................................................... 13
  United States v. Duran,
   596 F.3d 1283 (11th Cir. 2010) ................................................................................................. 19

                                                                         iii
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 5 of 47 PageID #: 1802




  United States v. Ehrlichman,
   379 F. Supp. 291 (D.D.C. 1974) ......................................................................................... 28, 33
  United States v. Enmons,
   410 U.S. 396 (1973) .................................................................................................................... 1
  United States v. Farhane,
   634 F.3d 127 (2d Cir. 2011) ...................................................................................................... 11
  United States v. Fortenberry,
   No. 21-CR-00491 (C.D. Cal.) ................................................................................................... 28
  United States v. Graziano,
   616 F. Supp. 2d 350 (E.D.N.Y. 2008) ....................................................................................... 26
  United States v. Gregg,
   612 F.2d 43 (2d Cir. 1979) ........................................................................................................ 24
  United States v. Gross,
   165 F. Supp. 2d 372 (E.D.N.Y. 2001) ................................................................................. 37, 38
  United States v. Gyamfi,
   357 F. Supp. 3d 355 (S.D.N.Y. 2019) ....................................................................................... 24
  United States v. Heine,
   151 F.2d 813 (2d Cir. 1945) .............................................................................................. 7, 8, 11
  United States v. Ho,
   3:16-cr-46 (E.D. Tenn. Nov. 30, 2016) ....................................................................................... 9
  United States v. Hu Ji,
   No. 21-cr-265 (E.D.N.Y.) ........................................................................................................... 9
  United States v. Huet,
   665 F.3d 588 (3d Cir. 2012) .................................................................................................. 9, 34
  United States v. Hung,
   629 F.2d 908 (4th Cir. 1980) ............................................................................................... 14, 19
  United States v. Ji Chaoqun,
   2020 WL 1689826 (N.D. Ill. Apr. 7, 2020) ........................................................................ 14, 20
  United States v. Ji Chaoqun,
   No. 18-cr-611 (N.D. Ill) .............................................................................................................. 9
  United States v. Kerik,
   615 F. Supp. 2d 256 (S.D.N.Y. 2009) ................................................................................. 28, 31
  United States v. Kozminski,
   487 U.S. 931 (1988) .................................................................................................................. 12
  United States v. Latchin,
   2005 WL 8160638 (N.D. Ill. July 26, 2005) ............................................................................. 20
  United States v. Lighte,
   782 F.2d 367 (2d Cir. 1986) ...................................................................................................... 31


                                                                      iv
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 6 of 47 PageID #: 1803




  United States v. Lindauer,
   2004 WL 2813168 (S.D.N.Y. Dec. 6, 2004) ......................................................................... 9, 19
  United States v. Lindauer,
   448 F. Supp. 2d 558 (S.D.N.Y. 2006) ......................................................................................... 9
  United States v. Lloyd,
   947 F. Supp. 2d 259 (E.D.N.Y. 2013) ....................................................................................... 25
  United States v. Maionica,
   No. 1:07-cr-20999 (S.D. Fla. June 20, 2008) ............................................................................ 19
  United States v. McCoy,
   995 F.3d 32 (2d Cir. 2021) ........................................................................................................ 24
  United States v. Papadopoulous,
   No. 17-CR-00182 (D.D.C.) ....................................................................................................... 29
  United States v. Patel,
   2022 WL 500567 (D.N.J. Feb. 18, 2022) ................................................................ 10, 34, 35, 36
  United States v. Pimenta,
   2015 WL 6502098 (D.N.J. Oct. 27, 2015) .................................................................... 10, 34, 36
  United States v. Powers,
   19-CR-00213 (E.D. Va.) ........................................................................................................... 29
  United States v. Prado,
    815 F.3d 93 (2d Cir. 2016) ....................................................................................................... 24
  United States v. Rafiekian,
   991 F.3d 519 (4th Cir. 2021) .............................................................................................. passim
  United States v. Rafiekian,
   No. 18-cr-457 (E.D. Va.)....................................................................................................... 9, 20
  United States v. Rodriguez,
   392 F.3d 539 (2d Cir. 2004) ................................................................................................ 25, 26
  United States v. Sample,
   565 F. Supp. 1166 (E.D. Va. 1983) ........................................................................................... 37
  United States v. Sherin,
   1987 WL 6146 (S.D.N.Y. Jan. 28, 1987) .................................................................................. 15
  United States v. Sittenfeld,
   522 F. Supp. 3d 353 (S.D. Ohio 2021) ...................................................................................... 11
  United States v. Sorich,
   523 F.3d 702 (7th Cir. 2008) ..................................................................................................... 30
  United States v. Stevens,
   559 U.S. 460 (2010) .................................................................................................................. 12
  United States v. Sunia,
   643 F. Supp. 2d 51 (D.D.C. 2009) ............................................................................................ 25


                                                                      v
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 7 of 47 PageID #: 1804




  United States v. Superior Growers Supply, Inc.,
   982 F.2d 173 (6th Cir. 1992) ..................................................................................................... 23
  United States v. Thompson,
   2017 WL 9325875 (W.D. Wis. Jan. 20, 2017).......................................................................... 29
  United States v. Trie,
   21 F. Supp. 2d 7 (D.D.C. 1998) ................................................................................................ 32
  United States v. Urrego,
   853 F. Supp. 646 (E.D.N.Y. 1994) ............................................................................................ 26
  United States v. Walton,
   2021 WL 3615426 (9th Cir. Aug. 16, 2021), pet. for cert. filed, No. 21-7093 ......................... 26
  United States v. Watts,
   72 F. Supp. 2d 106 (E.D.N.Y. 1999) ......................................................................................... 31
  United States v. Webb,
   24 F. Supp. 3d 432 (M.D. Pa. 2014) ............................................................................. 10, 34, 36
  United States v. Winner,
   17-CR-00034 (S.D. Ga.) ........................................................................................................... 29
  United States v. Ying Lin,
   No. 15-cr-601 (E.D.N.Y.) ........................................................................................................... 9
  Statutes
  18 U.S.C. § 2(a) ............................................................................................................................ 23
  18 U.S.C. § 951 ................................................................................................................... 8, 18, 24
  18 U.S.C. § 951(d) ................................................................................................................. passim
  22 U.S.C. § 233 ............................................................................................................................... 7
  Other Authorities
  Alex Kreit, Vicarious Criminal Liability and the Constitutional Dimensions of Pinkerton, 57
    Am. U. L. Rev. 585 (2008) ....................................................................................................... 26
  Black’s Law Dictionary (11th ed. 2019)......................................................................................... 5
  FBI Manual of Administrative Operations and Procedures (MAOP) 2007, R. 10-13.3(1l)(c) .... 28
  Nat’l Security Division, U.S. Dep’t of Justice, Advisory Opinion (Feb. 13, 2018) ..................... 19
  Nat’l Security Division, U.S. Dep’t of Justice, Advisory Opinion (Mar. 18, 2020) .................... 19
  Nat’l Security Division, U.S. Dep’t of Justice, Advisory Opinion (Oct. 22, 2020) ..................... 19
  Office of the Inspector General, U.S. Dep’t of Justice, Audit of the National Security Division’s
    Enforcement and Administration of the Foreign Agents Registration Act 30 (Sept. 2016),
    https://oig.justice.gov/reports/2016/a1624.pdf .......................................................................... 18
  Oversight of the Foreign Agents Registration Act and Attempts to Influence U.S. Elections:
   Lessons Learned from Current and Prior Administrations, U.S. Sen. Comm. On the Judiciary
   2 (July 26, 2017) (statement of Michael E. Horowitz, Inspector General, Dep’t of Justice) .... 18

                                                                         vi
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 8 of 47 PageID #: 1805




  Restatement (Second) of Agency (Am. L. Inst. 1958) ............................................................... 2, 6
  U.S. Dep’t of Justice, Justice Manual § 9-13.001......................................................................... 28
  U.S. Dep’t of Justice, The Scope of Agency Under FARA, https://www.justice.gov/nsd-
    fara/page/file/1279836/download (May 2020).......................................................................... 14
  Rules
  Fed. R. Crim. P. 7 ......................................................................................................................... 34




                                                                       vii
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 9 of 47 PageID #: 1806




                                           INTRODUCTION

          The government misunderstands Mr. Barrack’s motion: It is not premised on arguing the

  facts or challenging the sufficiency of the evidence. Contra Opp. 8. Rather, the motion is

  predicated on bedrock legal principles that, taken together, show why each count of the indictment

  fails as a matter of law. As in other cases where the government offers only legally deficient

  charges, this Court has a duty to ensure they do not go to a jury. See, e.g., United States v. Enmons,

  410 U.S. 396, 412 (1973) (affirming dismissal of indictment where statute did not prohibit the

  conduct charged).1

          1. The substantive and conspiracy Section 951 counts fail for multiple reasons:

          First, the government does not dispute that it cannot prove a Section 951 offense if a

  necessary element is proof that the alleged foreign agent owed a duty to his foreign principal. And

  it does not dispute that the indictment nowhere alleges such a duty. Instead, pushing the statute

  beyond all reasonable and constitutional bounds, the government seeks to criminalize conduct,

  including First Amendment-protected activity, freely undertaken by a person having no obligation

  to a foreign government. In doing so, the government asks this Court to embrace the very same

  arguments that it recently advanced in United States v. Rafiekian, 991 F.3d 529) (4th Cir. 2021),

  and that the Court of Appeals squarely rejected.

          Second, Rafiekian is the leading appellate decision on the requirements of Section 951, and

  there is no basis to depart from its well-reasoned analysis. Section 951 makes an individual

  criminally liable as an “agent of a foreign government” only if he “agrees to operate within the

  United States subject to the direction or control of a foreign government or official.” 18 U.S.C.

  § 951(d). As Rafiekian held, the statute requires proof that the alleged foreign principal has the


  1
    This reply refers to Mr. Barrack’s opening motion to dismiss as “Mot.” and the government’s opposition
  to that motion as “Opp.”
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 10 of 47 PageID #: 1807




  “power or authority to guide or manage” the agent or the power to “guid[e] or supervis[e]” the

  agent’s “action, conduct, or operation.” 991 F.3d at 539. This definition of agency parallels and

  incorporates the common law, id., which provides that an agency relationship exists only if the

  “agent is subject to a duty not to act contrary to the principal’s directions.” Restatement (Second)

  of Agency § 14, cmt. a (Am. L. Inst. 1958). Being “willing to do something the foreign principal

  requests” is not enough. Rafiekian, 991 F.3d at 539. The agent and the principal must “mutual[ly]

  assent” to this agency relationship; it cannot arise unilaterally. Id. at 540 (citing Restatement

  (Second) of Agency § 1). It is this mutual assent that creates the agent’s duty—without such a

  duty, no agency can exist. The indictment alleges no facts establishing a mutually-agreed upon

  agency relationship between Mr. Barrack and the UAE compelling him to act on behalf of the

  UAE. And while the indictment references various Emirati individuals, it never identifies any

  individual from the UAE who might have provided the required assent to the alleged agency

  relationship on behalf of the UAE.

         Third, construing Section 951 to require proof of a duty is necessary to avoid serious First

  Amendment issues. If no proof of a duty to a foreign principal is required, then an individual can

  be criminally liable under Section 951 whenever he expresses opinions consistent with the interests

  of a foreign government—for example, advocating for Ukrainian membership in NATO or the

  need to protect Israeli sovereignty. The government never disputes that a broad construction of

  Section 951 would infringe on First Amendment freedoms. Nor could it: In this very case, the

  government seeks to hold Mr. Barrack criminally liable for meetings with friends and colleagues,

  advice to the President, and public statements articulating foreign-policy views that Mr. Barrack

  had advocated long before the alleged agency relationship arose. See, e.g., Indictment ¶¶ 18-23,




                                                   2
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 11 of 47 PageID #: 1808




  24, 43-50, 79-85. Such constitutionally-protected conduct should be criminalized only in narrow

  circumstances, where the defendant actually has a duty to follow a foreign principal’s directions.

         Fourth, to the extent Section 951 is nevertheless construed to apply to Mr. Barrack’s

  conduct, the statute is unconstitutionally vague as applied to him, and that vagueness requires

  dismissal of the Section 951 charges. A statute is unconstitutionally vague if (1) it does not set

  clear standards that preclude arbitrary enforcement or (2) it is unclear enough that a person of

  ordinary intelligence does not understand what it prohibits. Both are true here: The government

  itself has acknowledged that Section 951’s scope is confusing, see infra Part I.C.1, and thus the

  statute is unevenly enforced. And no one of ordinary intelligence would understand that Section

  951 prohibits Mr. Barrack’s conduct—occasional acquiescence to UAE requests, occasional

  inaction on such requests, and occasional action contrary to such requests—because that conduct

  is inconsistent with any notion that Mr. Barrack agreed to operate subject to the UAE’s direction

  or control.

         Finally, the government’s late-breaking position that Mr. Barrack could be criminally

  liable under Section 951 under an aiding-and-abetting theory or under Pinkerton v. United States,

  328 U.S. 640 (1946), does not salvage the indictment. To be liable under either theory, Mr.

  Barrack would need to be able to form the criminal intent necessary to help the other defendants,

  Mr. Grimes or Mr. Al Malik, violate Section 951. He could form that intent only if he knew that

  Mr. Grimes or Mr. Al Malik was an unregistered agent of the UAE. After all, being an agent of a

  foreign government or official is not unlawful; a crime occurs only if the agent is unregistered.

  But the indictment never alleges Mr. Barrack knew that Mr. Grimes or Mr. Al Malik were agents,

  let alone unregistered agents.




                                                  3
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 12 of 47 PageID #: 1809




         2. The false-statement and obstruction charges should likewise be dismissed. These

  charges are premised on a voluntary June 2019 interview of Mr. Barrack, which was attended by

  three FBI agents and three federal prosecutors. Despite having ample opportunity and every

  incentive to create a complete and accurate record of Mr. Barrack’s statements, the government

  did not record or transcribe the interview, but instead had only one agent take handwritten notes

  summarizing the content of the interview. The government then waited two years and indicted

  Mr. Barrack on five felony charges based on the specific statements he made in 2019. While the

  government highlights the total length of the notes (fifty notepad pages), that is a result of the fact

  that the interview went almost five hours, rather than a testament to the quality or detail of the

  notes themselves—particularly the portions related to the alleged false statements, which are

  summary and incomplete. Due process cannot tolerate a prosecution for these charges, based on

  the nuanced interview questions asked years ago, which were pulled from a several-hours long

  interview, where neither the questions nor the answers were recorded or transcribed. Greater

  specificity in the government’s own records must be required before someone is allowed to face

  prison time for making allegedly false statements.

         3. The government’s unexplained and prejudicial multi-year delay in charging Mr. Barrack

  also requires dismissal of all counts of the indictment. The Section 951 charges are premised on

  acts that occurred intermittently in 2016 and 2017, and the false-statement and obstruction counts

  are premised on the 2019 interview that the government did not record. Yet the government did

  not charge Mr. Barrack until July 2021. The government offers no explanation for this delay

  beyond a boilerplate assertion that it was “investigating” the charges during that time, without

  identifying any actions it took from 2019 until the 2021 indictment. This unsubstantiated assertion

  amounts to a bare plea that the Court should simply trust the government. The Court should not.



                                                    4
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 13 of 47 PageID #: 1810




  Rather, because Mr. Barrack has shown specific, irreparable prejudice stemming from the

  government’s unexplained and inexplicable delay, the Court should dismiss the indictment.

                                            ARGUMENT

  I.     THE SECTION 951 CHARGES MUST BE DISMISSED

         The government does not dispute that the indictment fails to allege that Mr. Barrack owed

  a duty to his alleged former principal, the UAE; it simply contends that Section 951 does not

  require proof of a duty. The government is incorrect.

         A.      Section 951 Requires That The Government Allege Mr. Barrack Owed A
                 Duty To A Foreign Government Or Official.

         As Mr. Barrack explained in his opening motion, the text, common-law underpinnings, and

  statutory context all confirm that, to be an agent within the meaning of Section 951, a defendant

  must be subject to a duty to comply with the foreign principal’s directions. See Mot. 7-14. A

  willingness or desire to help a foreign country or official is not enough. See id.

                 1.      Statutory Construction Principles Confirm The Requirement Of A Duty.

         The government resists this conclusion by trotting out the same arguments that the Fourth

  Circuit rejected in Rafiekian. Section 951 makes an individual criminally liable as an “agent of a

  foreign government” only if he “agrees to operate within the United States subject to the direction

  or control of a foreign government or official.” 18 U.S.C. § 951(d). As Mr. Barrack explained in

  his opening motion, an agreement to operate “subject to the direction or control of a foreign

  government or official” exists only where there is a duty—i.e., where there has been a meeting of

  the minds that the foreign principal has the authority to instruct, direct, or command the defendant

  to take certain actions, and the defendant is “obligat[ed]” to act accordingly. See Mot. 8-9 (citing

  Black’s Law Dictionary (11th ed. 2019)). Although the government here, as in Rafiekian, argues

  for an expansive definition of “agreement” that does not require proof of a duty, see Opp. 21;


                                                   5
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 14 of 47 PageID #: 1811




  Rafiekian Gov’t Br. 35-39, the Fourth Circuit rightly rejected that “substantially more expansive

  construction” of the statute, i.e., the notion “that a person becomes an ‘agent’ for the purposes of

  § 951 whenever he ‘is willing to do something the foreign principal requests,’” Rafiekian, 991 F.3d

  at 539.

            As in Rafiekian, the government also argues that Section 951’s definition of agency does

  not incorporate the common-law requirement of a duty. See Rafiekian Gov’t Br. 35-39; Opp. 25.

  The Fourth Circuit properly rebuffed that argument: “If [Section 951’s] formulation rings a bell,

  it’s because, under the common law, an agent is someone who agrees to ‘act on [another’s]

  behalf[,] subject to his control,’ or at least not ‘contrary to [his] directions.’” Rafiekian, 991 F.3d

  at 539 (quoting Restatement (Second) of Agency §§ 1, 14 cmt. a) (alterations in original); see Mot.

  8-9. To be sure, the Fourth Circuit acknowledged that “there are bound to be some aspects of

  common-law agency that don’t jibe with § 951’s language and purpose.” 991 F.3d at 539. But

  the requirement of a duty is not among them. Rather, the Fourth Circuit held that Section 951’s

  definition “resonates with the common law’s” in requiring “mutual assent” to the agency

  relationship and requiring more than that the agent be “willing to do something the foreign

  principal requests.” Id. at 539-40 (citing Restatement (Second) § 1).

            That leaves the government clinging to the notion that Rafiekian did not expressly use the

  word “duty.” Opp. 25. But a duty by any other name is still a duty: Rafiekian held that Section

  951 liability can exist only if there is an agreement to act “subject to [another’s] control, or at least

  not contrary to [his] directions.” 991 F.3d at 539 (second alteration in original). That is a duty, as

  the Restatement provisions cited in Rafiekian make clear: In an agency relationship, “the agent is

  subject to a duty not to act contrary to the principal’s directions.” Restatement (Second) of Agency

  § 14, cmt. a (emphasis added); see id. § 1, cmt. c (“Reciprocal duties between the parties together



                                                     6
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 15 of 47 PageID #: 1812




  with a power of the agent to bind the principal are normally created at the time of the agreement,”

  even if “there is no binding contract between the parties.”).2

          Nor is there any merit to the government’s argument—which was likewise rejected in

  Rafiekian, see 991 F.3d at 539—that the context and history of Section 951 warrant a “broad”

  construction of the statute, see Opp. 13-18. Congress may have “‘intended to paint with a broad

  brush’ when it enacted § 951,” but that intent cannot override the plain language of the statute.

  Rafiekian, 991 F.3d at 539 (quoting Gov’t Rafiekian Br. 39). Additionally, Congress knew how

  to adopt a truly “sweeping definition of ‘agent,’” and did so “in the Foreign Agents Registration

  Act, which includes far-reaching verbiage that § 951 lacks.” Id. That Congress did not use

  FARA’s broad definition of agency in Section 951 counsels in favor of a narrower construction,

  not a broader one. See Mot. 11.

          Finally, the cases the government cites to suggest that Section 951 does not require proof

  of a duty, see Opp. 22-24, do not stand for that proposition. None of the defendants in those cases

  argued that a duty was required—and thus the courts had no reason to address the issue.

          Nor are the facts in those cases inconsistent with a duty requirement. In United States v.

  Heine, 151 F.2d 813 (2d Cir. 1945), for example, the defendant challenged the sufficiency of the

  evidence to show his guilt of violating Section 951’s predecessor, 22 U.S.C. § 233. He conceded

  that he was employed by—i.e., he owed a duty to—a German corporation, for which he collected



  2
    The government is also wrong that the concept of a “duty to comply is illogical in this context” because
  “no duty can arise from” an illegal agreement. Opp. 25 n.8. It is the government’s argument that is
  illogical—after all, Section 951 indisputably requires an agreement. Moreover, the statute condemns not
  the agreement, but the failure to notify the Attorney General of the agreement. See Opp. 21 (Section 951
  “speaks of an agreement”); 18 U.S.C. § 951(d). And under the government’s theory, no agreement could
  ever exist because it would be contrary to law, and illegal agreements are unenforceable. See, e.g., United
  States v. Bonanno Organized Crime Fam. of La Cosa Nostra, 879 F.2d 20, 28 (2d Cir. 1989) (“Under both
  federal and state law, illegal agreements, as well as agreements contrary to public policy, have long been
  held to be unenforceable and void.”).

                                                      7
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 16 of 47 PageID #: 1813




  information about the U.S. automobile and airplane industry. 151 F.2d at 814-15. But he

  challenged the lack of direct evidence that the corporation was controlled by the German Reich,

  as required to show that the defendant was acting subject to the direction and control of a foreign

  government or official. Id. at 817. The Second Circuit held that there was enough “circumstantial

  proof” of a connection between the corporation and the Reich. Id. In other words, the issue in

  Heine was not whether the government had proved that the defendant owed a duty at all—which

  the defendant conceded—but only whether the government had proved that he owed a duty to a

  foreign government (rather than a foreign corporation).

            The government’s other authority fares no better. Some addressed only principles that are

  irrelevant here. United States v. Butenko, 384 F.2d 554 (3d Cir. 1967), vacated on other grounds

  by Alderman v. United States, 394 U.S. 165 (1969), held only that a formal “contractual

  relationship between” the defendant and the foreign principal was not required, id. at 565-66—a

  point Mr. Barrack does not dispute. In other cases the government cites, the defendants received

  compensation for fulfilling directives from a government official—factual allegations that show a

  duty and that are lacking here. See United States v. Dumeisi, 424 F.3d 566, 581 (7th Cir. 2005);

  United States v. Chung, 633 F. Supp. 2d 1134, 1140, 1142 & n.9 (C.D. Cal. 2009); Superseding

  Indictment (Dkt. 53) ¶¶ 24, 27(b)-(c), (e), United States v. Abouammo, No. 19-CR-621 (N.D. Cal).

  There has also been no ruling on the adequacy of the allegations in Abouammo, as the defendants

  never challenged them. See also infra Part I.C.1 (distinguishing remaining authority cited at Opp.

  22-24).

                   2.     The Cases That Have Allowed Section 951 Charges To Survive A Motion
                          To Dismiss Are Distinguishable.

            The government points to other courts that have allowed indictments charging offenses

  under 18 U.S.C. § 951 to survive motions to dismiss. See Opp. 10-12. But those indictments were


                                                    8
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 17 of 47 PageID #: 1814




  different from the one here: They involved allegations of an express agreement to operate as the

  agent of a foreign principal,3 or some form of compensation to the alleged agent from the foreign

  principal—which reflects the existence of the type of agency relationship required by Section 951.4

  Additionally, the defendants did not challenge their Section 951 charges on the same grounds that

  Mr. Barrack now raises, so the courts had no cause to address the merits of the issues before the

  Court now.5

          Certain of these indictments may have been “bare-bones,” United States v. Lindauer, 2004

  WL 2813168, at *1 (S.D.N.Y. Dec. 6, 2004). But that does not help the government. As Mr.

  Barrack explained in his opening motion, where an indictment goes beyond bare-bones allegations,

  “the indictment fails to state an offense” if the more detailed “facts that are alleged fall beyond the

  scope of the relevant criminal statute, as a matter of statutory interpretation.” Mot. 35 (quoting

  United States v. Huet, 665 F.3d 588, 595 (3d Cir. 2012)). Because the government’s indictment

  in this case, as the government itself stresses, “goes far beyond the limited legal requirements of

  tracking the statutory language and identifying the time and place of the offense,” Opp. 12, the

  Court must assess whether its more detailed allegations are consistent with the charged Section

  951 offenses. The government never even cites Huet, much less tries to distinguish it. And Huet

  continues to have ongoing vitality, including in the Second Circuit. See, e.g., United States v.

  Bronson, 2007 WL 2455138, at *7 (E.D.N.Y. Aug. 23, 2007) (dismissing count that “tracks the


  3
   Superseding Indictment (Dkt. 77) ¶¶ 6, 18, United States v. Hu Ji, No. 21-cr-265 (E.D.N.Y.); Superseding
  Indictment (Dkt. 141) ¶ 22, United States v. Rafiekian, No. 18-cr-457 (E.D. Va.) .
  4
    Second Superseding Indictment (Dkt. 87) ¶¶ 5, 12, United States v. Ying Lin, No. 15-cr-601 (E.D.N.Y.);
  United States v. Lindauer, 2004 WL 2813168, at *1-2 (S.D.N.Y. Dec. 6, 2004); United States v. Lindauer,
  448 F. Supp. 2d 558, 560 (S.D.N.Y. 2006); Indictment (Dkt. 32) ¶ 10, United States v. Ji Chaoqun, No. 18-
  cr-611 (N.D. Ill); Superseding Indictment (Dkt. 42) ¶ 15, United States v. Dumeisi, No. 03-cr-664 (N.D.
  Ill.).
  5
   See Mot. to Dismiss (Dkt. 191) 6-17, United States v. Rafiekian, No. 18-cr-457; Mot. to Dismiss (Dkt. 30)
  8-9, United States v. Amirnazmi, No. 08-cr-429 (E.D. Pa.); Mot. to Dismiss (Dkt. 36) 11-13, United States
  v. Ho, 3:16-cr-46 (E.D. Tenn. Nov. 30, 2016).

                                                      9
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 18 of 47 PageID #: 1815




  language of [the statute] and sets forth its elements,” but the “crime alleged to have been committed

  is not viable under any legal theory”). And just last month, in United States v. Patel, 2022 WL

  500567 (D.N.J. Feb. 18, 2022), the court cited Huet in dismissing an indictment that “track[ed] the

  statutory language,” but alleged “facts” that did not “violate the statute,” as the statute was

  construed by the court. Id. at *7-11.

         Falling back, the government quibbles, see Opp. 12-13, with some of the other case law

  that Mr. Barrack cited to support the banal proposition that the factual allegations in the indictment

  must be consistent with the essential elements of the charged offense, see Mot. 15 (citing United

  States v. Pimenta, 2015 WL 6502098, at *5 (D.N.J. Oct. 27, 2015); United States v. Webb, 24 F.

  Supp. 3d 432, 435 (M.D. Pa. 2014)). The government contends that Pimenta—which dismissed

  an indictment because its factual allegations did not show the defendant was an agent of a bank,

  see 2015 WL 6502098, at *5—is irrelevant because the bank-bribery statute contained no

  definition of “agent,” whereas Section 951(d) does. See Opp. 12-13. But this is a distinction

  without a difference: The Pimenta court assumed that “agent” took its common-law definition,

  such that “agency exists if the principal has the right to control the agent’s performance.” 2015

  WL 6502098, at *4. In other words, the Pimenta court was assessing the sufficiency of an

  indictment to allege a form of agency materially identical to the form of agency required by Section

  951—i.e., one that exists if the agent “agrees to operate . . . subject to the direction or control of”

  the alleged principal. 18 U.S.C. § 951(d). And Pimenta held that the indictment’s allegations fell

  short because the government did not “allege facts supporting that [the alleged agent] was acting

  on behalf of [the alleged principal] or that [the alleged agent] was subject to the control of [the

  alleged principal].” 2015 WL 6502098, at *4. So too here: Because the government has failed to




                                                    10
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 19 of 47 PageID #: 1816




  allege facts showing that agency relationship, and because such an agency relationship is a required

  element of a Section 951 offense, the indictment against Mr. Barrack must be dismissed.6

                   3.       Section 951 Should Be Construed To Require Proof Of A Duty To Avoid
                            Overbreadth Problems.

          As Mr. Barrack explained in his opening motion, the Court should also construe Section

  951 to require proof of a duty to avoid serious constitutional questions.                    See Mot. 12-14.

  Otherwise, the statute would “punish a substantial amount of protected free speech, judged in

  relation to [its] plainly legitimate sweep.” Opp. 48 (quoting United States v. Farhane, 634 F.3d

  127, 136 (2d Cir. 2011)). The government’s own cited authority recognizes as much: A broad

  construction of Section 951 threatens “so drastic a repression of the free exchange of information”

  that “it is wise carefully to scrutinize.” Heine, 151 F.2d at 815.7 And Mr. Barrack has provided

  multiple examples of routine, First Amendment activity that would be criminalized if Section 951

  were construed not to require proof of a duty. See Mot. 13. As he explained, anytime a U.S.

  citizen advocates for the interests of a foreign power—for example, the interests of the Vatican or

  Israel, or the interests of Ukraine or Russia—engaging in that First Amendment-protected speech

  could risk violating Section 951.

          The government does not directly address those examples, nor does it dispute that Section

  951 criminalizes that conduct if interpreted not to require a duty. Instead, the government says


  6
    Although the government notes that United States v. Sittenfeld, 522 F. Supp. 3d 353 (S.D. Ohio 2021),
  declined to dismiss the indictment in that case despite the defendant’s citation to Pimenta and Webb,
  Sittenfeld is inapposite. There, the district court concluded that the factual allegations were sufficient to
  state (non-Section 951) offenses; the offenses at issue did not require an allegation of agency. Id. at 367.
  As to Sittenfeld’s suggestion that Pimenta and Webb are contrary to Sixth Circuit authority and Huet, the
  district court never explained the tension. To the extent Sittenfeld meant to suggest that Sixth Circuit
  authority blesses indictments that “failed entirely to allege facts relating to essential elements of the charged
  offenses” or “to the extent they alleged such facts, those facts were conclusory,” id. at 366-67, that is
  certainly not the law in the Second Circuit, see Mot. 14.
  7
   Although this part of the Heine opinion addressed the non-Section 951 charges, the conduct on which the
  Section 951 charges were premised is the same.

                                                         11
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 20 of 47 PageID #: 1817




  that is not “the type of conduct the statute is designed to prohibit,” Opp. 49 (emphasis added), that

  “the majority of potential applications of Section 951 fit comfortably within constitutional

  bounds,” Opp. 49-51, and “the First Amendment is not implicated” by Section 951 because that

  statute “regulates conduct . . . not speech,” Opp. 49. Each of these arguments is fatally flawed.

         First of all, it does not matter whether the Department of Justice’s current view of Section

  951 is that it does not support prosecutions based on protected First Amendment activity. “[T]he

  First Amendment protects against the Government; it does not leave us at the mercy of noblesse

  oblige,” and courts will “not uphold an unconstitutional statute merely because the Government

  promised to use it responsibly.” United States v. Stevens, 559 U.S. 460, 480 (2010). What matters

  is what the law prohibits. See, e.g., Marinello v. United States, 138 S. Ct. 1101, 1108 (2018)

  (rejecting government’s interpretation of tax statute because it would criminalize paying

  babysitters in cash and “leav[ing] a large cash tip in a restaurant,” without asking whether any such

  prosecutions had been brought); United States v. Kozminski, 487 U.S. 931, 949 (1988) (rejecting

  government interpretation of statute that would allow prosecution of parents for “threatening [to]

  withdraw[] affection” from their children, without asking whether any such prosecutions had been

  brought).

         In any event, Section 951 is routinely used to prosecute First Amendment activity. This

  case is a prime example: The Section 951 charges against Mr. Barrack center on his meetings with

  friends and colleagues, advice to the President, and public statements on foreign-policy issues—

  which the indictment fails to mention Mr. Barrack had voiced long before the alleged agency

  relationship arose. See, e.g., Indictment ¶¶ 18-23, 24, 43-50, 79-85. Nor is this case an outlier.

  The defendant in Rafiekian was prosecuted for an op-ed he placed and a documentary he planned

  to make. 991 F.3d at 534-35. The prosecution in United States v. Dumiesi, 2003 WL 22757747



                                                   12
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 21 of 47 PageID #: 1818




  (N.D. Ill. Nov. 20, 2003), was based in part on the defendant’s printing of newspaper articles. Id.

  at *1. And the defendant in United States v. Amirnazmi, 2009 WL 32481 (E.D. Pa. Jan. 5, 2009),

  was prosecuted for paying for the printing of materials to promote his software, among other

  activities. See id. at *2. The defendants in these cases did not argue that construing Section 951

  to require proof of a duty was necessary to prevent chilling First Amendment activity, so these

  courts had no occasion to consider the arguments that Mr. Barrack now raises. But the cases show

  that the government routinely deploys Section 951 to prosecute individuals for their First

  Amendment-protected actions.

         Second, it is irrelevant that some past prosecutions under Section 951 did not implicate

  First Amendment activity. What matters is whether Section 951 would raise serious constitutional

  issues in any of “the statute’s applications.” Clark v. Martinez, 543 U.S. 371, 381-82 (2005) (due

  process); see also FCC v. Fox Television Stations, Inc., 556 U.S. 502, 516 (2009) (free speech);

  NLRB v. Catholic Bishop of Chi., 440 U.S. 490, 499-504 (1978) (religious liberty). As the previous

  paragraph shows, that is exactly what a broad construction of Section 951 does—particularly if

  that broad construction does not require proof of a duty to the defendant’s alleged foreign principal.

  Under that broad view of the law, an individual (like Mr. Barrack) may be criminally liable for

  voicing positions that align with those of a foreign government or official.

         Third, the government cannot defend the charges in this case by arguing that Section 951

  criminalizes conduct, not speech. Although the statute imposes criminal penalties premised on a

  failure to notify the Attorney General, the notification requirement applies only where someone

  engages in a purported agency relationship, which could entail exercising First Amendment

  freedoms. Just as a requirement to file a notice before holding a protest would implicate First

  Amendment freedoms, so too does Section 951’s notice requirement implicate those same



                                                   13
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 22 of 47 PageID #: 1819




  freedoms. See, e.g., Shuttlesworth v. City of Birmingham, 394 U.S. 147 (1969) (permit for parade);

  Kunz v. New York, 340 U.S. 290 (1951) (permit for street meeting); Saia v. New York, 334 U.S.

  558 (1948) (permit for use of amplifying device). In fact, the government itself has recognized

  the potential for similar notification requirements to violate First Amendment rights if construed

  broadly. For example, in the FARA context, Department of Justice guidance provides that “FARA

  does not require registration simply because a person expresses views that are favorable to or

  coincide with the interests of a foreign country or a foreign person. And the First Amendment

  protects the rights of U.S. persons to express such views.”8

         Although two courts have rejected overbreadth challenges to Section 951, see Opp. 50-51,

  those specific challenges do not foreclose Mr. Barrack’s arguments here. The Fourth Circuit in

  United States v. Hung, 629 F.2d 908 (4th Cir. 1980), held only that the term “agent” was “readily

  understandable,” without specifying whether that readily understandable definition entailed a duty,

  see id. at 920—as Mr. Barrack argues is necessary to save Section 951 from being constitutionally

  overbroad. Similarly, the defendant in United States v. Ji Chaoqun, 2020 WL 1689826 (N.D. Ill.

  Apr. 7, 2020), did not argue that proof of a duty between the agent and principal was required to

  save Section 951 from overbreadth. The court upheld and applied the statute against the defendant

  simply because he had not addressed the statutory text or shown that a “substantial portion of the

  cases” prosecuted under it criminalize protected First Amendment activity. Id. at *3. Mr.

  Barrack’s statutory overbreadth argument, however, explains why the statutory text does not cure

  the overbreadth problem and demonstrates how Section 951—if interpreted not to require a duty—

  can (and does) yield prosecutions that infringe on First Amendment freedoms.




  8
     U.S. Dep’t of Justice, The Scope of Agency Under FARA, https://www.justice.gov/nsd-
  fara/page/file/1279836/download (May 2020).

                                                  14
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 23 of 47 PageID #: 1820




         Finally, to the extent any doubt about the proper construction of Section 951 remains, the

  rule of lenity commands that the doubt be resolved in Mr. Barrack’s favor. See Mot. 14. The

  government never even mentions the rule of lenity, much less rebuts its application here.

         B.      The Indictment Does Not Plead That Mr. Barrack Owed A Duty To The
                 UAE.

         The government next contends that, regardless of whether Section 951 requires a duty, its

  Section 951 charges should survive this motion to dismiss because the indictment parrots the

  language of the statute. Opp. 8-9. The government is incorrect.

         “In an indictment upon a statute, it is not sufficient to set forth the offence in the words of

  the statute, unless those words of themselves fully, directly, and expressly, without any uncertainty

  or ambiguity, set forth all the elements necessary to constitute the offence intended to be

  punished.” United States v. Carll, 105 U.S. 611, 611-13 (1881); see also, e.g., Russell v. United

  States, 369 U.S. 749 (1962) (holding that indictments should have been dismissed because they

  failed to allege an element that was implicit in the statutory language, but which the Court

  construed the statute to require the government to prove); United States v. Sherin, 1987 WL 6146,

  at *8 (S.D.N.Y. Jan. 28, 1987) (same). In the context of this case, this authority dictates that an

  indictment charging a Section 951 offense must allege every essential ingredient of that offense—

  including that the defendant owed a duty to a foreign government or official.

         It is no substitute for the government to reiterate various deficient factual assertions in the

  indictment, apparently hoping that some quantity of detail will foreclose the need for legally

  sufficient allegations. See Opp. 16 (citing Indictment ¶¶ 19, 22, 56-57, 60, 65, 67, 69, 71-74, 76-

  77, 81-82, 84-86); id. 26 (citing Indictment ¶¶ 20, 24(d), 78); id. 58-59 (citing Indictment ¶¶ 14-

  24, 35-42, 54, 60-62, 66, 76-77). For example, while the indictment alleges that Mr. Barrack spoke

  positively about the UAE in the media, see Indictment ¶ 24, those allegations do not show he was


                                                   15
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 24 of 47 PageID #: 1821




  the UAE’s agent, see Mot. 7. Otherwise, a U.S. citizen could never speak positively of a foreign

  government or its objectives without running afoul of Section 951, and could not flatter himself

  when he did so, see Indictment ¶ 24(d)—a result that would clearly run afoul of the First

  Amendment, see supra 11-14. Similarly, the indictment alleges that UAE officials asked Mr.

  Barrack for information about certain U.S. officials, see Indictment ¶¶ 54, 56, and informed Mr.

  Barrack of certain UAE objectives, id. ¶¶ 57, 60-62, 65, 71-74, 81-87, but there is no allegation

  Mr. Barrack agreed to advance these objectives or complied with the UAE’s requests, see Mot. 7,

  17-18. Merely receiving requests from a third party does not show a duty to act subject to the third

  party’s direction or control; “mutual assent” to the agency relationship is required. See Rafiekian,

  991 F.3d at 539.

         The remaining allegations highlighted by the government fare no better. The indictment

  alleges that Mr. Barrack’s contacts in the Middle East sought his views about President Trump and

  understood him to be knowledgeable about and personally familiar with the President, see

  Indictment ¶¶ 14-17; that Mr. Barrack “asked for feedback” from Mr. Al Malik on a speech for

  Mr. Trump—while soliciting feedback from others, including U.S. officials, id. ¶¶ 18-23; that Mr.

  Al Malik described himself and Mr. Barrack as “heroes” for commenting on the draft speech, id.

  ¶ 20;9 and that Mr. Barrack facilitated introductions between UAE officials and U.S. officials, see

  id. ¶¶ 66, 67, 69, 76, 77. None of these actions shows that Mr. Barrack agreed to operate subject

  to the UAE’s direction and control. See Mot. 18, 23-24. Nor do the allegations that those other

  than Mr. Barrack communicated about having a dedicated phone or secure messaging application.

  See Indictment ¶ 35-42; Mot. 34-35. And, in any event, the allegation that certain defendants used




  9
    Similarly, the indictment’s allegation that Mr. Al Malik described Mr. Grimes as a “hero” of UAE
  officials, Indictment ¶ 78, hardly shows that Mr. Barrack had a duty to the UAE. Contra Opp. 26.

                                                  16
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 25 of 47 PageID #: 1822




  particular methods to communicate does not plead that they owed a duty to a principal. Otherwise,

  anyone who followed an international friend’s instruction to download an application that allows

  for reduced-fee, overseas communication (such as Skype or WhatsApp) would be liable under

  Section 951 if their friend happened to be a foreign official.

         C.      If Applied To Mr. Barrack’s Conduct, Section 951 Is Unconstitutionally
                 Vague.

         If Section 951 were nevertheless construed to cover Mr. Barrack’s alleged conduct, the

  statute would be unconstitutionally vague as applied to him, and that vagueness would require

  dismissal of Counts 1 and 2. “[W]hen examining laws that impose criminal penalties,” courts in

  this circuit apply a “more stringent” vagueness analysis “because the consequences of imprecision

  are qualitatively more severe” than they are in civil matters. Thibodeau v. Portuondo, 486 F.3d

  61, 66 (2d Cir. 2007). A criminal statute must meet two criteria to survive an as-applied vagueness

  challenge: It must (1) set clear standards such that it does not “authorize and even encourage

  arbitrary and discriminatory enforcement” and (2) “provide the kind of notice that will enable

  ordinary people to understand what conduct it prohibits.” City of Chi. v. Morales, 527 U.S. 41, 56

  (1999) (plurality op.); see Mot. 20-21. Neither requirement is satisfied here.

                 1.      Section 951 Authorizes And Encourages Arbitrary Enforcement.

         Section 951’s text does not set standards clear enough to eliminate the risk of enforcement

  based on a government official’s “personal predilections,” Smith v. Goguen, 415 U.S. 566, 575

  (1974). As Mr. Barrack explained, Section 951 could be interpreted to impose criminal liability

  on a U.S. citizen who befriends a foreign official and, at the foreign official’s request, agrees to

  drive the official’s car around the block once a month to keep the battery from dying. Mot. 22.

  The government dismisses this example as nothing more than a hypothetical, Opp. 59 n.22, failing

  to grapple with the heart of Mr. Barrack’s argument: that Section 951’s use of vague terms such


                                                   17
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 26 of 47 PageID #: 1823




  as “agrees to operate” and “subject to the direction and control” invites arbitrary enforcement.

  Mot. 22.

         Indeed, the government itself has recognized that Section 951’s application is unclear. The

  Department of Justice’s Office of the Inspector General has noted that Section 951 and FARA are

  often “mistaken[ly] conflat[ed],”10 and that government officials do “not have a common

  understanding of . . . the relationship between FARA and 18 U.S.C. § 951. It is [the National

  Security Division]’s opinion that a key difference between FARA and 18 U.S.C. § 951 is that

  FARA covers agents of foreign principals who engage in political activity on behalf of that

  principal, while 18 U.S.C. § 951 covers agents of foreign governments who engage in non-political

  activity, such as ‘espionage-lite’ or clandestine behavior.”11 That interpretation is different than

  the one the Department of Justice now offers—i.e., that Section 951 is not limited to espionage-

  like behavior, see, e.g., Opp. 14-15, 63-64. The government may try to discount its prior

  interpretation of Section 951 as the view of merely “one Department of Justice official.” Opp. 15

  n.3 (discussing a different Department of Justice official’s similar interpretation of the statute).

  Yet the government provides no explanation why a “person of ordinary intelligence” would be

  able to discern the murky outer boundaries of Section 951 better than a lawyer tasked by the

  government with administering the statute. That is particularly true given that the Department of




  10
     Office of the Inspector General, U.S. Dep’t of Justice, Audit of the National Security Division’s
  Enforcement and Administration of the Foreign Agents Registration Act 30 (Sept. 2016),
  https://oig.justice.gov/reports/2016/a1624.pdf.
  11
     Oversight of the Foreign Agents Registration Act and Attempts to Influence U.S. Elections: Lessons
  Learned from Current and Prior Administrations, U.S. Sen. Comm. On the Judiciary 2 (July 26, 2017)
  (statement of Michael E. Horowitz, Inspector General, Dep’t of Justice).

                                                   18
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 27 of 47 PageID #: 1824




  Justice has opined in other cases that no agency relationship exists, even under FARA’s broader

  definition of agency, in circumstances analogous to those here.12

          The government fares no better in pointing to cases rejecting vagueness challenges to

  Section 951 charges in different settings. In Lindauer, for example, the defendant argued only that

  Section 951 was unconstitutional because it was facially vague and did not include an express

  scienter requirement, 2004 WL 2813168, at *4-5—an argument Mr. Barrack does not raise.

  United States v. Duran, 596 F.3d 1283 (11th Cir. 2010), considered only whether Section 951 was

  vague as applied to the facts of that case, id. at 1290, which are markedly different from those

  here—including because the defendant was formally employed by a corporation controlled by a

  foreign government, id. at 1287. And Hung held that the word “agent” in itself was not vague or

  overbroad because it is “readily understandable,” 629 F.2d at 919-20, without explaining what that

  “readily understandable” word entails or whether it entails a duty. Hung also construed the 1977

  version of the statute—which the government itself recognized contemporaneously was “very

  unclear” because the statute “does not contain a definition of the activity which requires

  registration.” Mot. to Dismiss, Ex. 1 (Dkt. 173-2) 1, United States v. Maionica, No. 1:07-cr-20999

  (S.D. Fla. June 20, 2008) (February 9, 1976 letter from the State Department to the Attorney




  12
    See Nat’l Security Division, U.S. Dep’t of Justice, Advisory Opinion (Oct. 22, 2020) (president of global
  consulting firm who wrote articles about foreign official and solicited that official’s input on the article
  before publication did not need to register); Nat’l Security Division, U.S. Dep’t of Justice, Advisory
  Opinion (Mar. 18, 2020) (individual had no duty to register where he engaged in dialogue with international
  organization “in furtherance of a specific request made by the United States, through” the State
  Department); Nat’l Security Division, U.S. Dep’t of Justice, Advisory Opinion (Feb. 13, 2018)
  (organization had no duty to register where it encouraged U.S. officials to meet with foreign government
  officials to assist in the release of an individual incarcerated by the foreign government).


                                                      19
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 28 of 47 PageID #: 1825




  General). Mr. Barrack distinguished this authority in his opening motion, see Mot. 24-25, and the

  government offers no response to those arguments.13

            Retreating from this case law, the government argues that—even if Section 951 does not

  provide clear standards—Section 951 is not unconstitutionally vague because Mr. Barrack’s

  alleged conduct falls squarely within the statute’s prohibition. See Opp. 63-64. But the proof is

  in the prosecutions: As discussed above, there has never been another Section 951 case like this

  one, where the government seeks to hold an individual liable who received no compensation for

  publicly articulating his foreign-policy positions, which sometimes happened to align with the

  interests of his alleged foreign principal and sometimes did not, see supra 8-10—and which always

  aligned with U.S. objectives, and were vetted, discussed, and often sought out by high-ranking

  U.S. officials. See Mot. 25-26. The alleged conduct here falls especially outside the bounds of

  the statute’s “core prohibition” because all agree that the White House was well aware of Mr.

  Barrack’s contact with UAE officials. See Mot. 22 & n.10; Indictment ¶ 74 (alleging a text

  message from Mr. Barrack stating that President Trump “had discussed appointing Barrack as

  either United States Ambassador to the United Arab Emirates or as Special Envoy to the Middle

  East”).




  13
     See also Ji Chaoqun, 2020 WL 1689826, at *4 (rejecting an as-applied vagueness challenge that “fail[ed]
  because” the defendant—unlike Mr. Barrack here—did “not articulate any basis on which the statute is
  vague or standardless as to him”); Mot. to Dismiss (Dkt. 191) 17-21, United States v. Rafiekian, No. 18-cr-
  457 (E.D. Va.) (arguing that Section 951 was vague as applied to the defendant—an argument that
  necessarily depends on the particular allegations in the indictment); United States v. Latchin, 2005 WL
  8160638, at *2 (N.D. Ill. July 26, 2005) (rejecting defendant’s “facial” vagueness challenge, which argued
  only that the Section 951 count was deficient “because it does not provide the dates of [the defendant’s]
  alleged communications, the identities of the [foreign] officers with whom he met or communicated, or the
  dates he traveled overseas and/or received payment”).

                                                      20
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 29 of 47 PageID #: 1826




                 2.      The Text Of Section 951 Failed To Give Mr. Barrack Adequate Notice
                         That His Alleged Conduct Was Proscribed.

         Separately, the text of Section 951 fails to give a person of ordinary intelligence adequate

  notice that Mr. Barrack’s alleged conduct is prohibited. As explained above and in Mr. Barrack’s

  opening motion, none of Mr. Barrack’s alleged activities could reasonably have been said to

  involve his “agree[ment] to operate . . . subject to the direction or control” of the UAE. 18 U.S.C.

  § 951(d); see supra 15-17; Mot. 23-24. The government responds by mischaracterizing a series

  of allegations in the Indictment. Opp. 58-59. First, the government asserts that Mr. Barrack, “at

  the direction of the UAE,” inserted favorable language into a policy speech delivered by then-

  candidate Trump. Opp. 58. But the indictment itself states simply that Mr. Barrack, without being

  prompted, simply “asked for feedback” on the speech—not that he was in any way ordered to

  implement the UAE’s preferences.         Indictment ¶ 18.      Second, the allegations regarding

  coordination with UAE officials, see id. ¶¶ 14-17, 24, 35-42, 60-62, provide no factual basis for

  an agreement between Mr. Barrack and UAE officials that the former would operate as a UAE

  agent. See supra 15-17. Similarly, Mr. Barrack’s alleged willingness to share information on

  presidential appointments, Indictment ¶ 54, and to arrange a meeting between senior White House

  and UAE officials, id. ¶¶ 76-77, signals nothing more than that he was willing to act on requests

  from the UAE when they independently overlapped with his or the United States’ interests. But

  acting on another’s request is not tantamount to agreeing to operate subject to that person’s

  direction or control. See supra 5-6. And the indictment alleges, at most, that Mr. Barrack’s actions

  were taken in response to requests from UAE officials. See Opp. 59 (noting an arranged phone

  call between President Trump and a senior UAE official “at the request of UAE officials”). No

  person of ordinary intelligence would read Section 951 as prohibiting Mr. Barrack’s alleged




                                                  21
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 30 of 47 PageID #: 1827




  conduct—i.e., occasional acquiescence to UAE requests, occasional inaction on such requests, and

  occasional action contrary to such requests.

         In the end, perhaps the best evidence of the statute’s indeterminacy, as the government

  would have this Court construe it, is that the government never offers any definition of what it

  means to “agree[] to operate . . . subject to the direction or control” of a foreign agent. 18 U.S.C.

  § 951(d). Faced with Mr. Barrack’s argument that this statutory language requires proof of a duty,

  the government responds essentially with silence. If the government is unable (or unwilling) to

  define the key terms of a statute, then an individual should not be deemed to have understood when

  he might have transgressed it. Nor will there be any good way for the jury to make any such

  determination.

         D.        The Government’s Late-Breaking Theories Of Liability Do Not Salvage The
                   Indictment.

         In a last-ditch effort to save its Section 951 charges, the government points to general

  principles of criminal law that allow the government to prove a defendant’s guilt of a substantive

  offense by showing he aided or abetted another’s commission of the offense or by showing his

  liability under Pinkerton. The indictment does not contain the allegations necessary to state an

  offense under these theories.

         As an initial matter, Section 951 is best understood as a specific-intent crime, requiring

  knowledge of an obligation to register. See Mot. 13; Grimes Mot. to Dismiss 10. Here, the

  underlying conduct—having allegedly agreed to act in the United States as an agent of a foreign

  principal—is not inherently blameworthy. Only a failure to register converts this otherwise

  “entirely innocent” conduct, cf. Staples v. United States, 511 U.S. 600, 614-15 (1994), into a

  criminal offense. This Court should accordingly apply the “longstanding presumption, traceable

  to the common law, that Congress intends to require a defendant to possess a culpable mental state


                                                   22
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 31 of 47 PageID #: 1828




  regarding ‘each of the statutory elements that criminalize otherwise innocent conduct,’” Rehaif v.

  United States, 139 S. Ct. 2191, 2195 (2019), and hold that a defendant can be convicted of a

  Section 951 offense only if he knew that agreeing to operate subject to a foreign government’s

  direction or control required him to notify the Attorney General of the agency relationship.

  Because the indictment nowhere alleges such knowledge, it fails to allege that Mr. Barrack

  committed a Section 951 offense.

         Even if Section 951 were a general-intent crime, the indictment would still be insufficient.

  The indictment nowhere alleges that Mr. Barrack knew that Mr. Grimes or Mr. Al Malik were

  agents, let alone unregistered agents, as would be required to hold Mr. Barrack liable as a principal

  under either aiding-and-abetting or Pinkerton theories of liability.

                 1.      The Indictment Fails To State A Section 951 Offense Under An Aiding-
                         And-Abetting Theory Of Liability.

         An individual is liable for aiding and abetting a crime only if the scheme he furthered was

  an offense (or would have been an offense if consummated). See 18 U.S.C. § 2(a); United States

  v. Superior Growers Supply, Inc., 982 F.2d 173, 178 (6th Cir. 1992) (explaining that an aiding and

  abetting offense “doesn’t exist without [the underlying substantive offense]”). In this context, that

  means that the government must show that Mr. Barrack aided or abetted Mr. Al Malik’s or Mr.

  Grimes’s commission of a Section 951 offense. Because an element of a Section 951 offense is

  that the defendant owed a duty to a foreign official, and because the indictment fails to allege that

  Mr. Grimes or Mr. Al Malik owed such a duty, see supra 15-17, the indictment never pleads a

  substantive Section 951 offense—and thus the Section 951 counts cannot be sustained on an

  aiding-and-abetting theory.

         Even setting that issue aside, the indictment fails to plead that Mr. Barrack aided and

  abetted a Section 951 offense committed by Mr. Grimes or Mr. Al Malik because it never pleads


                                                   23
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 32 of 47 PageID #: 1829




  that Mr. Barrack knew that either of them was an agent or knew of their unregistered status. “For

  the aiding-and-abetting theory of liability to apply, the underlying federal crime must have been

  committed by someone other than the defendant; and the defendant himself must either have acted,

  or have failed to act, with the specific intent of aiding the commission of that underlying crime.”

  United States v. McCoy, 995 F.3d 32, 58 (2d Cir. 2021). “An intent to advance some different or

  lesser offense is not, or at least not usually, sufficient: Instead, the intent must go to the specific

  and entire crime charged.” Rosemond v. United States, 572 U.S. 65, 76 (2014); see United States

  v. Prado, 815 F.3d 93, 102 (2d Cir. 2016) (holding jury instructions “erroneous under Rosemond

  because they provide no instruction that the jury must find that the defendants had advance

  knowledge of the gun at a time that they could have chosen not to participate in the crime”); United

  States v. Gyamfi, 357 F. Supp. 3d 355 (S.D.N.Y. 2019) (holding prosecution had to prove

  defendant subjectively knew, in advance of attempted robbery, that there was genuine risk

  someone would be killed during the robbery in order to convict him of felony murder under aiding-

  and-abetting theory).

         In the context of Section 951, then, a defendant can be guilty of the substantive offense

  under an aiding-and-abetting theory only if he knew in advance that one of his confederates

  planned to act as an agent of a foreign government or official without providing the required

  notification to the Attorney General. After all, being an agent of a foreign government or official

  is not unlawful; a crime occurs only if the agent is unregistered. See 18 U.S.C. § 951. And if

  knowledge of the principal’s unregistered status is not required to show aiding and abetting

  liability, a defendant could be guilty of aiding and abetting a Section 951 offense without any

  knowledge of the conduct that made the action illegal. That is not the law. United States v. Gregg,

  612 F.2d 43, 51 (2d Cir. 1979) (for aiding-and-abetting counts, the defendant “must not only know



                                                    24
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 33 of 47 PageID #: 1830




  about the criminal nature of the other person’s acts but (he must) share that evil purpose himself”

  (alteration in original)).

          Because the indictment fails to plead that Mr. Barrack knew that Mr. Al Malik or Mr.

  Grimes were agents, let alone that he knew either one was an unregistered agent, it does not allege

  the mental state requisite to plead aiding-and-abetting liability for Mr. Barrack. As a result, this

  late-breaking theory of liability cannot save the government’s pleading, and the Section 951

  charges should be dismissed. Cf. United States v. Sunia, 643 F. Supp. 2d 51, 81 (D.D.C. 2009)

  (dismissing two obstruction-of-agency-proceedings counts because, although the counts tracked

  the statutory language, they failed to allege knowledge, which “is an essential element of the

  offense”).

                  2.      The Indictment Fails To State A Section 951 Offense Under Pinkerton.

          The government similarly fails to save its Section 951 charges by arguing that they are

  adequate to state an offense under a Pinkerton theory of liability. The indictment does not plead

  the allegations necessary to state an offense under that theory. First, Pinkerton requires the

  government to allege all the elements of the offense that is the object of the conspiracy, see, e.g.,

  United States v. Lloyd, 947 F. Supp. 2d 259, 268-69 (E.D.N.Y. 2013)—which, in the context of

  Section 951, includes a duty to a foreign principal. Because the indictment does not plead that Mr.

  Barrack agreed that he, Mr. Grimes, or Mr. Al Malik would owe a duty to the UAE, the indictment

  fails to plead a necessary element of conspiracy and thus Pinkerton liability.

          Second, “even Pinkerton liability . . . is premised on a mental state,” and “does not dilute

  or erode the basic requirement that the person charged with conspiracy knew of the existence of

  the scheme alleged in the indictment and knowingly joined and participated in it.” United States

  v. Coplan, 703 F.3d 46, 71 (2d Cir. 2012) (quoting United States v. Rodriguez, 392 F.3d 539, 545

  (2d Cir. 2004)); see also, e.g., United States v. Bruno, 383 F.3d 65, 89-90 (2d Cir. 2004)
                                                   25
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 34 of 47 PageID #: 1831




  (defendants’ convictions for obstruction of justice could not be sustained under Pinkerton theory

  because government provided inadequate proof of intent to commit underlying conspiracy);

  Rodriguez, 392 F.3d at 545 (explaining that conspiracy is a specific-intent crime). Mr. Barrack

  could know of the scheme alleged in the indictment and knowingly join it only if he knew that Mr.

  Al Malik or Mr. Grimes was unregistered—which (again) the indictment never alleges. For this

  additional reason, the indictment’s allegations are inadequate to state a Section 951 offense under

  a Pinkerton theory of liability. See, e.g., United States v. Graziano, 616 F. Supp. 2d 350, 366-75

  (E.D.N.Y. 2008) (granting directed verdict to defendant because the government’s evidence of

  defendant’s knowledge of alleged co-conspirator’s planned crime was insufficient to sustain

  conviction under Pinkerton theory of liability); United States v. Urrego, 853 F. Supp. 646, 650-51

  (E.D.N.Y. 1994) (similar).14

          Finally, the Pinkerton rule “is unsound.” United States v. Walton, 2021 WL 3615426, at

  *4 (9th Cir. Aug. 16, 2021) (Watford, J., concurring), pet. for cert. filed, No. 21-7093; see also,

  e.g., Alex Kreit, Vicarious Criminal Liability and the Constitutional Dimensions of Pinkerton, 57

  Am. U. L. Rev. 585, 597-98 (2008) (noting that academics, the Model Penal Code, and LaFave’s

  treatise on criminal law all reject Pinkerton liability). The U.S. Supreme Court recently called for

  a response to the petition filed in Walton, indicating a willingness by at least one Justice to

  reconsider the viability of Pinkerton. Although Second Circuit precedent currently forecloses this

  argument, Mr. Barrack raises it to preserve it for appeal.




  14
    For the same reasons, the conspiracy charges against Mr. Barrack fail to the extent the government claims
  Mr. Barrack conspired to help Mr. Grimes or Mr. Al Malik violate Section 951. Because the indictment
  nowhere alleges that Mr. Barrack knew they were unregistered, he could not have formed the intent
  necessary to conspire to help those principal offenders violate Section 951.

                                                      26
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 35 of 47 PageID #: 1832




  II.    THE FALSE STATEMENT CHARGES MUST BE DISMISSED

         A.      Counts 3 Through 7 Must Be Dismissed Based On The Government’s
                 Intentional Failure To Make A Record.

         In its opposition, the government does not dispute the facts raised in Mr. Barrack’s motion

  to dismiss the false statement and obstruction counts. Specifically, the government does not

  dispute that it chose not to record Mr. Barrack’s June 20, 2019 interview, even though it knew

  about the interview weeks in advance and considered Mr. Barrack a target of its investigation. Nor

  does the government dispute that it controlled the circumstances of the interview, which was

  attended by three FBI special agents and three federal prosecutors, and that only one of the six

  government participants present at the interview took any notes. The government also makes no

  attempt to defend the fragmentary notes that were taken or deny that they do not reflect the specific

  questions asked or the specific answers that Mr. Barrack gave. And the government does not

  contest that the FBI Form 302 memorandum documenting Mr. Barrack’s interview was not

  completed until more than a month after the interview took place or that it included statements

  attributed to Mr. Barrack that do not appear in its agent’s notes from the day of the interview.

         Without disputing any of these facts, the government essentially argues that it is allowed

  to do what it did. Opp. 43-46. The government believes it can take isolated statements from a

  several-hours-long interview, assert that those statements were not accurate, and pursue multiple

  felony charges on that basis years after the interview took place, even where it failed to make a

  contemporaneous record of the questions or the defendant’s responses. To the government, the

  Court has no power to disturb charges brought under these circumstances, and a defendant has no

  safeguard against such practices short of a jury verdict of acquittal.

         The relevant cases do not support the government’s disturbing view of its authority. Courts

  in this district and elsewhere have declined to permit the government to hold a defendant criminally


                                                   27
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 36 of 47 PageID #: 1833




  liable on felony false-statement and obstruction-of-justice charges where, as here, the

  circumstances that led to the “absence of a transcript of what was said” place that defendant in an

  “untenable situation” to defend himself. United States v. Clifford, 426 F. Supp. 696, 702 (E.D.N.Y.

  1976); see also United States v. Ehrlichman, 379 F. Supp. 291, 292 (D.D.C. 1974) (finding that

  Section 1001 was improperly invoked where the government agent’s “sketchy notes [did] not

  purport to be a verbatim record of either the questions or the answers at issue”). And contrary to

  the government’s assertion, dismissing false-statement charges—which hinge on the precise words

  spoken and which the government here chose not to record or transcribe—is not only an

  appropriate motion for resolution pretrial, but a proper exercise of the Court’s duty to ensure that

  deficient charges do not go to the jury. United States v. Kerik, 615 F. Supp. 2d 256, 277 (S.D.N.Y.

  2009) (dismissing false statement counts pretrial).

          Not surprisingly, the government’s investigatory practices in this case directly contradict

  DOJ’s own recommendations on recording and memorializing custodial interviews, and epitomize

  the concerns that the policy was designed to prevent. See U.S. Dep’t of Justice, Justice Manual

  § 9-13.001; see also FBI Manual of Administrative Operations and Procedures (MAOP) 2007, R.

  10-13.3(1l)(c). The government says this case is different because the interview was not custodial.

  Opp. 43, n. 15. But the same policy encourages recording in non-custodial settings too. See U.S.

  Dep’t of Justice, Justice Manual § 9-13.001. And in contrast to the government’s interview of Mr.

  Barrack, prosecutors and their agents in districts throughout the country regularly follow this

  guidance, choosing to record interviews with targets in non-custodial settings—including cases

  where, as here, the interviews took place at defense counsel’s office.15


  15
     See, e.g., Opp. to Mot. to Suppress, Ex. 2 (Dkt. 47-2), United States v. Fortenberry, No. 21-CR-00491
  (C.D. Cal.) (transcript of recorded voluntary interview conducted at defense attorney’s office in false
  statements case); Deferred Prosecution Agreement (Dkt. 3) 6, United States v. Arsan, 21-CR-00159 (C.D.


                                                    28
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 37 of 47 PageID #: 1834




          The government resists dismissal on two grounds, neither of which is sufficient to save

  these counts.

          First, the government poses a straw man to Mr. Barrack’s challenge to Counts 3 through

  7, arguing that the government is not required to record or fully transcribe an interview in order to

  bring false-statement charges. Opp. 43-46. But Mr. Barrack has not argued that these charges

  should be dismissed solely because the interview was not recorded or because there is no verbatim

  transcript. Instead, Mr. Barrack seeks dismissal on the grounds that, despite having ample time

  and opportunity to prepare, the government deliberately created a situation where there would be

  no contemporaneous record of the questions asked or the answers given. Mot. 28-33. The

  government then exacerbated the prejudice it created when it delayed more than a month before

  finalizing the FBI-302 memorandum16 (which included statements not reflected in the agent’s


  Cal.) (DPA requiring defendant to participate in an “in-person, recorded interview” with prosecutors and
  the F.B.I.); Deferred Prosecution Agreement (Dkt. 4) 7, United States v. Baaklini, 21-CR-00160 (C.D. Cal)
  (same); Opp. to Mot. to Suppress, Ex. 1 (Dkt. 55-1), United States v. Powers, 19-CR-00213 (E.D. Va.)
  (transcript of recorded, non-custodial F.B.I. interview with defendant); Criminal Complaint (Dkt. 1) 47,
  United States v. Claiborne, No. 17-CR-00069 (D.D.C.) (defendant “participated in a voluntary interview”
  that “was recorded, and a transcript was subsequently made”); Criminal Complaint, Ex. 1 (Dkt. 1-1) 4,
  United States v. Papadopoulous, No. 17-CR-00182 (D.D.C.) (defendant “agreed to a voluntary interview”
  and the agents, “using an FBI recording device, taped the interview”); Opp. to Mot. for Custody Release,
  Ex. 1 (Dkt. 100-1), United States v. Winner, 17-CR-00034 (S.D. Ga.) (transcript of recorded, non-custodial
  F.B.I. interview with defendant); United States v. Thompson, 2017 WL 9325875, at *1-2 (W.D. Wis. Jan.
  20, 2017) (noting that F.B.I. agents recorded a voluntary non-custodial interview with the defendant); see
  also, e.g., Leopold v. U.S. Dep’t of Justice, No. 19-CV-01278 (D.D.C.) (FOIA Releases 7, 11, and 16
  containing FBI-302 memoranda of multiple voluntary interviews that were electronically recorded during
  the Special Counsel Investigation into 2016 election interference), https://vault.fbi.gov/special-counsel-
  mueller-investigation-records; Mot. in Limine, Ex. 1 (Dkt. 179-1), United States v. Baca, No. 16-CR-00066
  (C.D. Cal) (transcript of April 2013 recorded voluntary interview conducted at defense attorney’s office in
  false statements and obstruction case).
  16
     While the government concedes that the July 19, 2019 “Date of Entry” of the FBI-302 memorandum was
  not finished until one month after the interview, the government argues that the agent abided by policy that
  requires such memoranda to be “effected within five days” because the “Date Drafted” was four days after
  the interview. Opp. 43, n. 14. The government is incorrect. The FBI-302 memorandum is 23 pages long—
  if the agent only started the memorandum within the first five days, but did not complete the rest of the
  memorandum for a month, it complied with neither the letter nor spirit of the policy. See United States v.
  Brown, 2011 WL 3678682, at *9 (W.D. Pa. Aug. 19, 2011) (“Under [FBI] policy, a special agent is expected


                                                      29
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 38 of 47 PageID #: 1835




  notes17) and then delayed more than two years before filing five felony charges based on this

  deliberately woeful record. Mr. Barrack learned in July 2021, for the first time and while being

  held in a state prison, that the government believed he had made false statements during his four-

  hour June 2019 interview. Id.

          The government’s pursuit of charges under these circumstances is meaningfully

  distinguishable from every other false-statements case that the government relies on in its

  opposition. Opp. 43-44. In United States v. Sorich, for example, the Seventh Circuit upheld a

  Section 1001 conviction based on the defendant’s responses to questions during a voluntary

  interview that the government did not record. 523 F.3d 702 (7th Cir. 2008). Unlike here, however,

  the case agent’s notes in Sorich clearly documented both the government’s question and the answer

  that made up the false statement conviction. Id. at 716 (summarizing excerpts of the agent’s notes

  showing that the questions and answers were contemporaneously documented). In United States

  v. Brandt, the Seventh Circuit upheld a Section 1001 conviction based on unrecorded statements

  that the defendant made to F.B.I. agents during a voluntary interview regarding illegal arms

  trafficking. 546 F.3d 912 (7th Cir. 2008). But unlike here, the interview in Brandt was not planned

  or scheduled, the government had articulable reasons to excuse its decision not to record, and the

  false-statement charges were filed within ten months of the interview. Id. at 913-15. Here, by

  contrast, the interview was scheduled well in advance, the government has no explanation for its




  to memorialize interviews of witnesses on an FD-302 form within five days of the interview.”). That delay
  is particularly significant here, given the government’s failure to otherwise document the actual questions
  or answers underlying the false statement counts.
  17
     Count Five of the Indictment alleges that Mr. Barrack falsely stated at the interview that, among other
  things, he was “never asked to download any messaging application by anyone associated with the
  Middle East[.]” Indictment ¶ 103. While this statement appears in the FBI-302 memorandum that was
  finalized one month after the interview, that statement is not recorded anywhere in the contemporaneous
  notes taken by the agent at the interview. Bowman Decl. ISO Mot. to Dismiss, Ex. 4 at 3.

                                                      30
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 39 of 47 PageID #: 1836




  failure to record, and the government inexplicably delayed bringing the charges for over two years.

  The government has not pointed to a single Section 1001 case involving circumstances like those

  here, likely due to the fact that the government has exercised its discretion in such cases not to

  proceed with legally unsound charges.

         Where a defendant learns years after the fact that the government contends he made false

  statements during an earlier, lengthy interview, he is at a significant disadvantage defending

  himself against those accusations. The government thus limited Mr. Barrack’s ability to raise

  common and appropriate defenses to the false-statement charges, such as ambiguity of the

  questions or the literal truth of his answers.        Mot. 30-32.   The government counters that

  fundamental ambiguity and literal truth are factual issues to be resolved by a jury at trial. Opp. 45.

  Not so. Although the meaning Mr. Barrack ascribed to the government’s questions and the

  truthfulness of his answers are ordinarily matters for a jury, Second Circuit courts have held that

  such issues should reach a jury only in the absence of “fundamental ambiguity or impreciseness in

  the questioning,” and are otherwise properly decided as a matter of law. United States v. Lighte,

  782 F.2d 367, 372 (2d Cir. 1986); United States v. Bonacorsa, 528 F.2d 1218, 1221 (2d Cir. 1976);

  see also United States v. Watts, 72 F. Supp. 2d 106, 109 (E.D.N.Y. 1999) (an answer to a

  fundamentally ambiguous question “may not, as [a] matter of law, form the basis of a prosecution

  for perjury or false statement”). “This proscription holds even where the answer is unquestionably

  false or fraudulent.” Kerik, 615 F. Supp. 2d at 271 (holding that the determination of fundamental

  ambiguity is a question of law).

         Even if the government were correct that fundamental ambiguity and literal truth are solely

  trial defenses (which they are not), that rule would lead to an absurd result in this case: The

  government’s failure to make a record, coupled with its unexplained two-year, pre-indictment



                                                   31
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 40 of 47 PageID #: 1837




  delay severely constrains Mr. Barrack’s ability to challenge a question as ambiguous or

  demonstrate the literal truth of his answer. The government makes no effort to explain how Mr.

  Barrack should mount these challenges, other than its flippant suggestion that, if Mr. Barrack

  wanted an accurate record of what was said, he should have taken it upon himself to record the

  interview. Opp. 43, n. 15. That suggestion turns the government’s burden on its head: It is the

  government’s responsibility (consistent with DOJ policy) to create an adequate false-statements

  record and then “provide [the] information as to exactly what the false statements are, what about

  them is false, who made them, and how [the defendant] caused them to be made.” United States

  v. Trie, 21 F. Supp. 2d 7, 22 (D.D.C. 1998). That is especially true here, where the government

  (and not Mr. Barrack) knew that he was a target of the investigation and had every reason to

  memorialize the statements made in the interview, but chose not to do so. The government should

  not be rewarded for failing to create an adequate record, delaying two years, and then asserting for

  the first time (when Mr. Barrack had been arrested and was in custody) that it believed he had been

  untruthful during his interview.

         The government’s suggestion that Mr. Barrack will have “every opportunity” to explore

  ambiguity and literal truth at trial is also disingenuous. Opp. 45. In the same week it filed its

  opposition to this motion, the government also declined Mr. Barrack’s repeated requests for basic

  discovery relating to the interview, including prior drafts of the FBI-302 memorandum, as well as

  revisions, comments, or changes to it, and even the identity of the agent who took the notes of the

  interview. Bowman Reply Decl. ISO Mot. to Dismiss, Ex. 1. The government thus appears to

  want it both ways: in one breath, it argues that the deficient record of the questions and answers

  underlying the false-statements counts should survive because Mr. Barrack can challenge those

  deficiencies (including ambiguity and literal truth of his answers) at trial. Opp. 45. In the next



                                                  32
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 41 of 47 PageID #: 1838




  breath, the government refuses to provide basic and fundamental discovery or turn over what little

  record it possesses regarding Mr. Barrack’s statements at the interview.

          Second, the government repeatedly highlights the unremarkable fact that the case agent’s

  notes of the interview are fifty pages long, as if to demonstrate that the interview was in fact

  adequately documented. See, e.g., Opp. 5, 43. But the length of the notes (which covered a four-

  or five-hour interview) is a red herring. What matters is whether the specific portions of the notes

  related to the alleged false-statement charges accurately captured and made a record of the

  government’s questions and Mr. Barrack’s responses. See Ehrlichman, 379 F. Supp. at 292

  (entering judgment of acquittal for Section 1001 conviction where the defendant was “faced with

  the difficult task of arguing that his statements to the F.B.I. were literally true on the sole basis of

  the agent’s sketchy notes, which do not purport to be a verbatim record of either the questions or

  the answers at issue”). They do not, a fact the government does not and cannot dispute. See

  Bowman Decl. ISO Mot. to Dismiss, Ex. 4.

          The fundamental problem with the agent’s notes is not limited to one or even two counts

  either. For every count, the agent’s notes subjectively combine the question and answer into a

  single assertion, wholly devoid of the actual questions asked and answers given. Mot. 30-32 (citing

  examples of case agent’s subjective combination of actual words used for Counts 4 and 6 into

  single assertions). But the actual words used in the question, as well as those used in Mr. Barrack’s

  responses, are crucial to his ability to vindicate himself. The Court should therefore not permit a

  jury to render a verdict on a charge where it is clear (before trial) that the jury will not have what

  it needs to decide guilt or innocence and where the false-statement and obstruction charges are

  deficient as a matter of law.




                                                    33
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 42 of 47 PageID #: 1839




         B.      Count 5 Must Be Dismissed For Failure To State An Offense.

         Count 5 must be dismissed for the independent reason that it recites extensive and specific

  facts that do not, when taken as true, allege a necessary element of a Section 1001 offense:

  knowledge of falsity. Mot. 34-35. For Count 5, the indictment cites boilerplate language from the

  statute and a number of communications (but none involving Mr. Barrack) to purportedly establish

  that he intentionally and falsely stated that he “was never asked to download any messaging

  application” and “never had a dedicated telephone to communicate with anyone in the Middle

  East.” Indictment ¶ 103. But out of all the communications alleged in the indictment, the

  government does not allege a single communication with Mr. Barrack regarding the secure

  messaging application or dedicated telephone. Mot. 34 (citing Indictment ¶¶ 35-42). These

  allegations accordingly do not plead any false statement. See Huet, 665 F.3d at 595 (when an

  indictment goes beyond reciting the elements of the offense and relies on particular factual

  allegations, the court has a duty to dismiss the charges if those allegations are legally insufficient

  to state an offense); supra 9-11 (citing Patel, Pimenta, and Webb).

         The government’s opposition relies on inapplicable authority and misconstrues the facts

  alleged in its own indictment.

         First, the government cites authority that stands for the uncontroversial proposition that, in

  general, an indictment is sufficient as long as it includes “pro forma” language from the statute.

  Opp. 46-47. This may be enough to satisfy the requirement that an indictment contain a “plain,

  concise and definite written statement” of the charged offense, see Fed. R. Crim. P. 7, but “[t]hat

  is not the end of the inquiry.” Patel, 2022 WL 500567, at *7. Instead, where the government has

  articulated specific facts in support of the charged offense, the “facts plead in the indictment that

  form the basis for the offense must violate the statute” as a matter of law. Id.; see also Webb, 24

  F. Supp. 3d at 440 (rejecting government argument that the court’s review of the specific facts
                                                   34
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 43 of 47 PageID #: 1840




  alleged in the indictment was “based on the sufficiency of the evidence, not on the sufficiency of

  the government’s pleading”). The facts alleged in support of Count 5 plainly fail that test.

         Second, the government argues that dismissal is inappropriate because the government

  intends to present “significant additional evidence at trial” for each of the counts in the indictment.

  Opp. 47. But that does nothing to cure the defect in Count 5. Count 5 is defective because, while

  the government cites text messages and emails involving people other than Mr. Barrack regarding

  an encrypted application and mobile device, the pleaded facts, even taken as true, do not establish

  Mr. Barrack’s knowledge of falsity that is necessary to sustain a Section 1001 offense as a matter

  of law. Mot. 34-35. To the contrary, the indictment cites a number of communications from Mr.

  Barrack to Mr. Grimes, Mr. Al Malik, and UAE officials that were apparently made without use

  of any secure or encrypted applications for well over a year after the alleged communications

  regarding use of a dedicated device (none of which involved Mr. Barrack). Id. (citing Indictment

  ¶ 97(a)). If Mr. Barrack was acting as an agent of the UAE and had obtained a dedicated device

  and was using a secure messaging application to conceal his communications, as the government

  implies but never actually alleges, then why did he continue to use a regular mobile phone or email

  to communicate with Mr. Grimes, Mr. Al Malik and UAE officials? The indictment has no answer.

  Because the indictment’s allegations contradict the alleged offense, the Court operates well within

  its authority at this stage to conclude that the government is “legally unable to prove” a violation

  of the statute. Patel, 2022 WL 500567, at *8.

         Finally, the government misconstrues the evidence it cites to support Count 5, arguing that

  even if the allegations constituted a “full proffer” of the government’s evidence, the allegations

  implicate Mr. Barrack’s knowledge of falsity. Opp. 47. But a plain reading of the two examples

  the government cites demonstrates exactly the opposite. In the first example, the government



                                                    35
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 44 of 47 PageID #: 1841




  points to a communication between two Emirati individuals—not including Mr. Barrack—where

  one allegedly tells the other that he sent Mr. Barrack “a link for a secure application.” Indictment

  ¶ 37. In the other example, the same two Emirati individuals—again not including Mr. Barrack—

  allegedly discuss that Mr. Barrack had acquired a phone. Id. ¶ 42. None of these allegations

  demonstrates Mr. Barrack’s knowledge of falsity because neither example (or any other) involves

  Mr. Barrack directly. The fact that the government cannot find support in its own indictment for

  this charge, and must instead invent such support, speaks volumes about the strength of the

  government’s case (or lack thereof) and the merit of Mr. Barrack’s legal challenge to Count 5.

         These challenges do not, as the government tries to suggest, go merely to the weight of the

  evidence. These are proper challenges to the sufficiency of allegations in the indictment. And

  because the indictment fails to state a Section 1001 offense as a matter of law, Count 5 must be

  dismissed. Patel, 2022 WL 500567, at *8; Pimenta, 2015 WL 6502098, at *2, *4-5; Webb, 24 F.

  Supp. 3d at 440.

  III.   THE GOVERNMENT’S PREJUDICIAL AND UNJUSTIFIABLE PRE-
         INDICTMENT DELAY REQUIRES DISMISSAL OF ALL COUNTS

         Both parties agree that pre-indictment delay violates due process when it prejudices the

  defense and the government delayed for an impermissible reason. See Mot. 36-37; Opp. 79.

  Because Mr. Barrack satisfies both prongs of this test, the indictment must be dismissed.

         As to prejudice, Mr. Barrack explained in his opening motion how the government’s delay

  in charging him “prevented him from obtaining important evidence,” including any approximation

  of a verbatim version of his allegedly false statements in 2019. See Mot. 38-39. The government

  claims that the loss of an exact record of those statements is immaterial because Mr. Barrack “was

  represented by multiple attorneys who took notes” of Mr. Barrack’s statements. Opp. 81. But

  notes are not a transcription. And two years passed between the statements and the indictment.


                                                  36
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 45 of 47 PageID #: 1842




  See supra 27. Although the government retorts that Mr. Barrack’s attorney’s notes would not

  “have been more helpful to the defendant if the charges were brought earlier,” Opp. 81, the point

  is that Mr. Barrack would not have had to rely exclusively on the notes—or seek to rely on the

  other materials now lost to him due to the government’s pre-indictment delay, see Mot. 38-39—

  had the charges been brought earlier, see Mot. 38.

         For this reason, the case law the government cites for the proposition that faded memories

  cannot show prejudice, see Opp. 82-83, is inapposite: There, the criminal charges did not depend

  on those memories. But here, the only record of Mr. Barrack’s allegedly false statements is his,

  his counsel’s, and the government’s recollections. In these circumstances, the loss of memory

  demonstrates the prejudice required to show unconstitutional pre-indictment delay. See, e.g.,

  United States v. Gross, 165 F. Supp. 2d 372, 380-81 (E.D.N.Y. 2001) (finding prejudice where

  key evidence that would have been “used to show that some of the representations attributed to

  Defendants were made by other parties” had been lost because of government’s pre-indictment

  delay); United States v. Sample, 565 F. Supp. 1166, 1178 (E.D. Va. 1983) (“[I]f defendants are

  able to show who would be their witnesses, that these witnesses’ memories have been impaired,

  what the general content of their testimony would have been had they not lost their memories, that

  the testimony would have been material to defendants’ defense, and that the loss of witnesses’

  memories resulted from the government’s pre-indictment delay, then actual prejudice will have

  been established.”).

         As to the government’s reasons for delay, the government never responds to Mr. Barrack’s

  authority holding that proof that the delay was “intentional and deliberate to gain a strategic

  advantage” is not required. See Mot. 37. Instead, it merely asserts—without support—that its

  delay in charging Mr. Barrack “was the result of continued investigation and evaluation of the



                                                 37
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 46 of 47 PageID #: 1843




  evidence.” Opp. 85. The government offers no examples of any investigatory work between 2019

  and the time of this indictment in July 2021. This boilerplate, unsubstantiated assertion of justified

  delay cannot insulate the government. See Gross, 165 F. Supp. 2d at 384 (rejecting government’s

  unsupported assertion that pre-indictment delay was justified by “legitimate investigation”). That

  is particularly true if simple government negligence can show unjustified delay and require

  dismissal of an indictment, as many courts have held. See Mot. 37. To the extent the government’s

  point is that Mr. Barrack has not yet provided evidence that the government intentionally delayed

  its indictment to gain a tactical advantage in this case, the government implicitly concedes that this

  is an appropriate area for discovery.

                                            CONCLUSION

         For the reasons above and in Mr. Barrack’s opening motion, this Court should dismiss the

  indictment in full.




                                                   38
Case 1:21-cr-00371-BMC-TAM Document 83 Filed 03/14/22 Page 47 of 47 PageID #: 1844




   Dated: Los Angeles, California        Respectfully submitted,
          March 14, 2022
                                         O’MELVENY & MYERS LLP

                                         /s/ Daniel M. Petrocelli________________
                                         Daniel M. Petrocelli (admitted pro hac vice)
                                         1999 Avenue of the Stars, 8th Floor
                                         Los Angeles, CA 90067
                                         Telephone: (310) 553-6700
                                         Facsimile: (310) 246-6779
                                         E-mail: dpetrocelli@omm.com

                                         James A. Bowman (admitted pro hac vice)
                                         400 South Hope Street, 18th Floor
                                         Los Angeles, CA 90071
                                         Telephone: (213) 430-6000
                                         Facsimile: (213) 430-6407
                                         E-mail: jbowman@omm.com

                                         Nicole M. Argentieri
                                         Times Square Tower
                                         7 Times Square
                                         New York, New York 10036
                                         Telephone: (212) 326-2000
                                         Facsimile: (212) 326-2061
                                         E-mail: nargentieri@omm.com

                                         Attorneys for Thomas J. Barrack, Jr.




                                        39
